    Case 3:13-cr-00907-JAG       Document 109     Filed 12/01/14    Page 1 of 6



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO


UNITED STATES OF AMERICA,

        Plaintiff,

                v.
                                        CRIMINAL NO. 13-907(JAG)

[5] REIMUNDO QUINONEZ-CASTRO

        Defendant.



                                OPINION AND ORDER

Garcia-Gregory, D.J.

        Before the Court is a Motion to Dismiss Count Eighteen

filed      by        Reimundo   Quinonez-Castro       (“Quinonez-Castro”          or

“Defendant”). (Docket No. 98). Mr. Quinonez-Castro is charged in

Count Eighteen for violations of 18 U.S.C. § 1623, specifically,

for making false statements on September 26, 2013 before the

Grand Jury. For the reasons stated below, the Motion to Dismiss

is hereby DENIED.

                                     BACKGROUND

        On September 26, 2013, Mr. Quinonez-Castro appeared by way

of a subpoena before a Grand Jury to testify in relation to a

criminal    investigation       of   Angel   Reyes-Agosto.         The   Government

informed Mr. Quinonez-Castro that he was not a “target” of the

criminal investigation, but rather, a “subject” whose conduct
      Case 3:13-cr-00907-JAG             Document 109         Filed 12/01/14    Page 2 of 6
Civil No. 13-907 (JAG)                                                                            2


was within the scope of the Grand Jury’s investigation. (Docket

Nos. 98, 108). Moreover, Mr. Quinonez-Castro concedes that the

Government        provided         him    with    Miranda        warnings       prior      to   his

testimony. (Docket No. 98). In fact, the Government advised the

Defendant     that       he    could      consult       his     attorney       at    any   moment

during      the    proceeding            and    assert     his      right      against       self-

incrimination. (Docket No. 108). The Defendant stated on several

occasions that he understood all of his rights and that he was

willing to testify. Id.

      On December 19, 2013, an Indictment charging Mr. Quinonez-

Castro with making false declarations before the Grand Jury was

filed. (Docket No. 3). In light of the fact that the Government

intends to use the transcripts of the Grand Jury proceeding at

trial, (Docket No. 93), Defendant filed the instant motion to

dismiss the perjury charges on the basis that the Government

violated his constitutional right to counsel. (Docket 98).

                                           DISCUSSION

      The    Sixth      Amendment         of     the   U.S.      Constitution         guarantees

that: “[i]n all criminal prosecutions, the accused shall enjoy

the   right       ...    to    have       the     Assistance        of    Counsel        for    his

defence.”     U.S.       Const.          amend.      VI.   It      is    well       established,

however,      that      a     person’s         constitutional           “right      to     counsel

attaches     only       at    or    after      the     time     that     adversary       judicial

proceedings have been initiated against him.” United States v.
      Case 3:13-cr-00907-JAG     Document 109    Filed 12/01/14   Page 3 of 6
Civil No. 13-907 (JAG)                                                            3


Gouveia, 467 U.S. 180, 187 (1984) (citing Powell v. Alabama, 287

U.S. 45, 53 (1932)) (other citations omitted) (emphasis added).

In   other   words,      this   constitutional    right      attaches   once    the

Government    has     committed    itself   to    the     prosecution     of    the

accused “whether by way of formal charge, preliminary hearing,

indictment, information or arraignment.” Kirby v. Illinois, 406

U.S. 682, 689 (1972).

      Moreover,     an    individual   subpoenaed       to   testify    before    a

grand jury is not entitled to Miranda warnings, since “[t]hose

warnings were aimed at the evils seen . . . as endemic to police

interrogation of a person in custody” rather than to the grand

jury questioning of a person. United States v. Mandujano, 425

U.S. 564, 579 (1976). In addition, unlike in the setting of a

custodial interrogation by the police, there is no “absolute

right to silence” during grand jury questioning. Id. At 581.

Specifically, “a grand jury witness . . . has an absolute duty

to answer all questions, subject only to a valid Fifth Amendment

claim [of the right against self-incrimination].” Id. Even then,

the Fifth Amendment “does not endow the person who testifies

with a license to commit perjury.” United States v. Wong, 431

U.S. 174, 178 (1977).

      Defendant argues that his right to counsel under the Sixth

and Fourteenth Amendments was violated because the Government

considered Mr. Quinonez-Castro a target of the investigation and
       Case 3:13-cr-00907-JAG        Document 109          Filed 12/01/14    Page 4 of 6
Civil No. 13-907 (JAG)                                                                           4


did not inform him of this fact prior to his testimony. (Docket

No. 98). It is hard to see how this argument makes sense since

the    Defendant’s      status       during      a        grand    jury      proceeding        is

unrelated to any potential violation of the right to counsel. In

this    case,   it     is    clear    that    Mr.     Quinonez-Castro’s                right    to

counsel had not attached when he appeared on September 26, 2013

before the Grand Jury. Mr. Quinonez-Castro was subpoenaed to

testify     before     the     Grand     Jury        in     relation        to    a    criminal

investigation of Angel Reyes-Agosto. Consequently, it cannot be

said that the Government had committed itself to the prosecution

of Mr. Quinonez-Castro through the initiation of an adversary

judicial proceeding at that point. See Kirby, 406 U.S. at 689.

Since the right to counsel had not attached, and the Defendant

does not dispute this fact, it necessarily follows that such

right was not violated. Mandujano, 425 U.S. at 581 (stating that

a witness “before a grand jury cannot insist, as a matter of

constitutional right, on being represented by his counsel . . .

.”) (citations omitted).

       Moreover, even though Mr. Quinonez-Castro was not entitled

to    Miranda   warnings        prior    to     testifying          in    the     grand      jury

proceeding,      the        Government    decided           to     advise        him    of     his

constitutional       rights      nonetheless.             Id.     579    (holding       that    a

witness subpoenaed to appear before a Grand Jury is not entitled

to Miranda warnings). At all moments, the Defendant indicated
     Case 3:13-cr-00907-JAG        Document 109         Filed 12/01/14   Page 5 of 6
Civil No. 13-907 (JAG)                                                                   5


that he understood his rights and that he wanted to testify.

(Docket No. 108) (quoting the Grand Jury transcript). Defendant

decided not to assert his Fifth Amendment right despite a clear

recital of the Miranda warnings and the fact that he had been a

police     officer      since      2003,    and        thus   likely     has   a   clear

understanding of his constitutional rights. In any event, it is

clear     that    the     Fifth     Amendment’s          privilege       against   self-

incrimination      does      not   include       the    right   to   commit    perjury.

Harris v. New York, 401 U.S. 222 (1971); see also Wong, 431 U.S.

at 178. Mr. Quinonez-Castro’s alleged perjured statements cannot

be protected because perjury is never a permissible alternative

to   a    defendant’s        failure       to    assert       his    Fifth     Amendment

privilege.

        Defendant further argues that had he known that he was in

fact a target of the investigation, he would have consulted his

lawyer    and    refused      to    testify       on    Fifth    Amendment     grounds.

(Docket No. 98). Again, it is hard to see how this argument

shows    that    any    of   the    Defendant’s         constitutional       rights    was

violated.    The     Government      is    not    constitutionally         required    to

warn Mr. Quinonez-Castro that he was a target of the grand jury

questioning. Instead of citing any legal authority in his Motion

to Dismiss, the Defendant opted to rely on the United States

Attorneys’ Manual of the Department of Justice (“USAM”) for the

proposition that supplemental advice should have been given to
      Case 3:13-cr-00907-JAG     Document 109     Filed 12/01/14    Page 6 of 6
Civil No. 13-907 (JAG)                                                              6


Mr.    Quinonez-Castro         because     he     was    a    target        of    the

investigation.    Id.   While     Mr.    Quinonez-Castro      has     not   exactly

proved that he was in fact a target, it is quite clear that the

USAM “provides only internal Department of Justice guidance” and

“does not create any substantive or procedural rights” for a

defendant, let alone establish the threshold for constitutional

rights. U.S. Attorneys’ Manual § 1–1.100; see United States v.

Craveiro, 907 F.2d 260, 264 (1st Cir. 1990) (stating that the

USAM’s guidelines and policies do not create enforceable rights

for defendants). Consequently, Defendant’s constitutional claims

are unfounded.

                                        CONCLUSION

      For   the   reasons      stated    above,   the    Court     hereby    DENIES

Defendant’s Motion to Dismiss. (Docket No. 98).



IT IS SO ORDERED.

In San Juan, Puerto Rico, this 1st day of December, 2014.



                                            S/ Jay A. Garcia-Gregory
                                            JAY A. GARCIA-GREGORY
                                            United States District Judge
